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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

                                                  x
DEBORAH LAUFER,

              Plaintiff,                               Case No. 3:20-cv-00448-VAB
V


441 POST ROAD LLC,

              Defendant.

                                      -------'-------x SEPTEMBER3,2020
                    MEMORANDUM IN OPPOSITION TO
         REQUEST FOR LEAVE TO AMEND FIRST AMENDED COMPLAINT

       The Defendant, 441 Post Road LLC, though its undersigned counsel, hereby

objects to the Plaintiff's Request for Leave to Amend First Amended Complaint (ECF

No. 29) ("Request for Leave") and respectfully states as follows:

       1.     The Plaintiff filed her initial Complaint in this action on April 1,2020.

       2.     On June 3,2020, the Defendant filed a Motion to Dismiss pursuant to

Federal Rules of Civil Procedure 12(bxl) and 12(bXO). ECF No. 10.

       3.     On June 25,2020, the Plaintiff sought leave, with Defendant's consent, to

amend her complaint. ECF No. 14. The Court granted the motion on June 26,2020.

ECF No. 16.

       4.     The Court then issued an order finding the pending Motion to Dismiss

moot and advising that, to the extent the issues raised therein still applied, the

Defendant could move to dismiss the First Amended Complaint. ECF No. 17.

       5.     On July 7,202Q, the Defendant filed a new, and still pending, Motion to

Dismiss Pursuant to Federal Rule of Civil Procedure 12(bX1). ECF No.         21   .
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         6.       The Plaintiff filed an opposition brief on July 21,2020 (ECF No. 25) and

the Defendant filed a reply memorandum on August 2,2020 (ECF No. 26). On August

10,2020 the Plaintiff filed a Motion to Strike Reply or, in the Alternative, for Leave to

File a Sur-Reply. ECF No.           27. ln summary fashion, the Court denied the motion to
strike but granted the Plaintiff permission to file a sur-reply. ECF No. 28.

         8.       On August 14,2020, the Plaintiff filed her current Request for Leave in

which she purportedly seeks permission to file a Second Amended Complaint in order

to provide additional information concerning her past travels and future travel plans to

the tri-state area.

         L        The Plaintiff's Request for Leave should not be granted as it would be

futile. "Although leave to amend must be freely given under ordinary circumstances,

denial is proper where the proposed amendment would be 'futile.' An amendment is

considered 'futile' if the amended pleading fails to state a claim or would be subject to a

successful motion to dismiss on some other basis." Nwachukwu v. Liberty Bank, No.

3:16-CV-704 (CSH), 2016 WL 3647837,at*2(D. Conn. July 1 ,2016) (citing Foman v

Davis, 371 U,S. 178, 182 (1962)) (internal citations omitted). First, the Request for

Leave fails to include a redline of the proposed Second Amended Complaint as required

by D. Conn. L. Civ. R. 7(fX2).1 However, even without a redline, it is apparent that the

proposed Second Amended Complaint (ECF No. 29-1) has nothing to do with the

present case, lt does not refer to or contain allegations concerning the Defendant, 441


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  Plaintiff's counsel also failed to comply with Local Rule 7(fX1), Despite Plaintiff counsel's assertion to the
contrary, Plaintiff's counsel did not afford Defendant's counsel a reasonable time to respond. Plaintiff's counsel
left a voicemail for one of Defendant's counsel, Melvin Simon, shortly before filing the Request for Leave.
Plaintiff's counsel made no effort to reach out to Defendant's other appearing counsel, Nicholas Vegliante, who
has also been actively involved in these proceedings.




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Post Road, LLC. lnstead, it refers to two strangers to this case, Hospitality lnvestments

lnc, and Ganesha Hospitality LLC, and a different hotel. Presumably, these allegations

are from one of the hundreds of other similar actions brought by the Plaintiff,

Accordingly, as the Proposed Second Amended Complaint does not make any

allegations concerning the Defendant, it would be subject to dismissal under Rule

12(bXO) and the Request for Leave should therefore be denied as being futile.

       10.     Furthermore, the Request for Leave should be denied as it threatens to

improperly delay proceedings and prejudice Defendant by forcing it to incur further,

unnecessary costs. See Credit Suigse First Boston LLC v. Coeur d'Alene Mines Corp.,

No. 03C|V.9547(PKLXMHD), 2005 WL323714, at*4 (S.D.N.Y. Feb. 10, 2005) (relying

on    man v. Davis 371 U.S. 178, 182 (1962), and stating that delay, failure to provide

an explanation for such delay and prejudice to the non-movant are factors that courts

must consider when exercising their discretion under Rule 15(a)). The Defendant's

initial Motion to Dismiss was filed on June 3,2020 which the Request for Leave purports

to address. Since then (i) the Plaintiff has filed a brief in opposition to the initial Motion

to Dismiss, (ii) the Defendant has filed a second Motion to Dismiss, (iii) the Plaintiff has

filed a new opposition brief, (iv) the Defendant filed a reply brief and (v) the Plaintiff

sought, and was granted, permission to file a sur-reply. However, despite being well

aware of these issues for over two months and extensive briefing, the Plaintiff has

offered no explanation why she waited until now, after the Defendant's Motion to

Dismiss was briefed twice, before seeking leave to amend. lt would appear that the

Plaintiff is attempting to delay these proceedings and force the Defendant to incur

additional costs.



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            11.     Moreover, the Plaintiff is in the midst of litigating these same issues with

the undersigned counsel in Laufer v. 4180 BlacK Rock LLC, 3:20-cv-00443-JAM, and

has employed the same tactics. ln that case, the Court has already denied the

Plaintiff's request for leave to amend the complaint due to the deficiencies discussed

above and expressed concern that the request "may be an improper delay tactic and

one designed to impose unnecessary costs on the defendant."2 A copy of this Order is

attached hereto as Exhibit A.

           For the foregoing reasons, the Defendant respectfully requests that the Court

deny the Plaintiff's Request for Leave.



                                                        THE DEFENDANT
                                                        441 POST ROAD LLC



                                                        By            /s/ Nicholas P. Vesliante
                                                                 Melvin A. Simon, Esq.
                                                                 Federal Bar No.: ct05248
                                                                 Nicholas P. Vegliante, Esq.
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    The plaintiff has since filed another request for leave to amend in that case. Although the allegations contained
in the new proposed amended complaint in that matter relate to the correct case, they merely present
vague, insufficient "some day" allegations and thus are still futile and would be subject to a motion to
dismiss. See Hartv v. Greenwich Hosp. Grgup, LLC, No. 3:1 1CV1759 (AVC), 2012WL 12895677 , at
*2,
    AIfi| 536 Fed. Appx. 154 (2d Cir. 2013).


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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


DEBORAH LAUFER,

                Plaintiff,                              Case No. 3:20-cv-00448-VAB
v

441 POST ROAD LLC,

                Defendant.



                                CERTIFICATE OF SERVICE

       I hereby certify that on the 3rd day of September,2020, a copy of the foregoing

Memorandum in Opposition to Request for Leave to Amend First Amended Complaint

was filed electronically and served by mail on anyone unable to accept electronic filing

Notice of this filing will be sent by e-mail to all parties by operation of the Court's

electronic filing system or by mail to anyone unable to accept electronic filing as

indicated on the Notice of Electronic Filing. Parties may access this filing through the

Court's CM/ECF System.




                                               /s/ Nicholas P. Veqliante
                                            Nicholas P. Vegliante
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